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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA,                        :

                      Plaintiff,                 :

               v.                                :       CIVIL ACTION NO. 24-CV-995

ASSORTED JEWELRY,                                :

                      Defendant                  :
                                             ...oOo...


                    VERIFIED COMPLAINT FOR FORFEITURE IN REM

       COMES NOW the United States of America, Plaintiff in this action, by and through its

attorneys, Erek Barron, United States Attorney for the District of Maryland, and Alexander Levin,

Assistant United States Attorney, pursuant to 21 U.S.C. § 881(a)(6), to bring this verified

complaint for forfeiture in rem against assorted jewelry seized on or about July 27, 2023, from 536

Doefield Court, Abingdon, Maryland, and alleges the following in accordance with Supplemental

Rule G(2) of the Federal Rules of Civil Procedure:

                                   NATURE OF THE ACTION

       1.      This is a civil action in rem against seized property that was furnished in exchange

for a controlled substance or listed chemical in violation of the Controlled Substances Act, or

constituted proceeds traceable to such an exchange, and therefore should be forfeited to the United

States pursuant to 21 U.S.C. § 881(a)(6).
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                                      THE DEFENDANT IN REM

        2.       The Defendant Property consists of assorted jewelry seized on or about July 27,

2023 from 536 Doefield Court, Abingdon, Maryland (Asset ID: 23-DEA-705748, the “Defendant

Property”). 1

        3.       In connection with an investigation into the drug trafficking activity of Vacshon

BROWN, on July 27, 2023, investigators searched 536 Doefield Court, Abingdon, Maryland

pursuant to a search and seizure warrant. During the course of the search, investigators found—

on the rim of one of the toilets and in various plastic bags—powders and powdery residues that

tested positive for fentanyl and cocaine. Throughout the house, investigators also found drug

trafficking paraphernalia, firearms, ammunition, various quantities of U.S. currency, and the

Defendant Property. In addition to his extensive record of state convictions for violent crimes and

drug trafficking offenses, BROWN has been indicted in connection with the present investigation

on counts of conspiracy, drug distribution, firearm possession, and money laundering. See United

States v. Brown, et al., Crim. No. JKB-24-035, ECF No. 17.

        4.       The United States brings this action in rem in its own right to forfeit all right, title,

and interest in the Defendant Property.

        5.       The forfeiture is based upon, but not limited to, the evidence outlined in the attached

Declaration of Special Agent Erica Maine, attached hereto as Exhibit A, and incorporated herein

by reference.



1
 The assorted jewelry includes the following items: a 10K white-gold diamond Cuban link chain; a 10K tri-color
gold money bag diamond pendant; a 10K white-gold ladies diamond heart pendant; a platinum diamond wedding
band; a 14K gold diamond wedding band; a stainless steel and 18K white-gold Rolex Oyster Perpetual watch; an 18K
yellow-gold Rolex Oyster Perpetual watch; a stainless steel and 18K yellow-gold Rolex Oyster Perpetual watch; and
a stainless steel, 18K yellow-gold, and 14K yellow-gold Rolex watch.
                                                       2
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                                       JURISDICTION AND VENUE

         6.       This Court has jurisdiction over an action commenced by the United States under

28 U.S.C. § 1345, over an action for forfeiture under 28 U.S.C. § 1355(a), and over this particular

action under 21 U.S.C. § 881(a)(6).

         7.       This Court has in rem jurisdiction over the Defendant Property under 28 U.S.C.

§ 1355(b). Upon the filing of this complaint, the Plaintiff requests that the Court issue an arrest

warrant in rem pursuant to Supplemental Rule G(3)(b), which the Plaintiff will execute upon the

Defendant Property pursuant to 28 U.S.C. § 1355(d) and Supplemental Rule G(3)(c).

         8.       Venue is proper in this district pursuant to 28 U.S.C. § 1355(b)(1), because acts and

omissions giving rise to the forfeiture took place in the District of Maryland, and pursuant to 28

U.S.C. § 1395 because the Defendant Property is located in this district.

                                    LEGAL BASIS FOR FORFEITURE

         9.       Title 21, United States Code, Section 881(a)(6) subjects to forfeiture

                  all moneys, negotiable instruments, securities, or other things of
                  value furnished or intended to be furnished by any person in
                  exchange for a controlled substance or listed chemical in violation
                  of this subchapter, all proceeds traceable to such exchange, and all
                  moneys, negotiable instruments, and securities used or intended to
                  be used to facilitate any violation of this subchapter.

         10.      Title 21, United States Code, Section 841(a)(1) makes it unlawful to knowingly or

intentionally “manufacture, distribute, or dispense, or possess with intent to manufacture,

distribute or dispense, a controlled substance . . ..” 2




2
 21 U.S.C. § 802(6) defines a controlled substance as a “drug or other substance . . . including in Schedule I, II, III,
IV, or V of Part B of this subchapter . . ..”
                                                           3
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       11.      Title 21, United States Code, Section 846 makes it unlawful to “attempt[] or

conspire[] to commit any offense defined in this subchapter . . ..”

       12.      The Defendant Property is subject to forfeiture to the United States pursuant to 21

U.S.C. § 881(a)(6) because it constitutes: (1) “things of value” furnished or intended to be

furnished in exchange for a controlled substance in violation of the Controlled Substances Act; or

(2) proceeds traceable to such an exchange.

       WHEREFORE, the Plaintiff, the United States of America, respectfully requests that:

       (i)      process of forfeiture be issued against the Defendant Property;

       (ii)     due notice be given to all interested parties to appear and show cause why the

                forfeiture should not be decreed;

       (iii)    judgment be entered declaring the Defendant in rem be forfeited to the United

                States for disposition according to law; and

       (iv)     the United States be granted such other relief as this Court may deem just and

                proper.



                                                    Respectfully submitted,

                                                    Erek Barron
                                                    United States Attorney


                                                                       ________
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                                                    Assistant United States Attorney
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